Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 1 of 14 - Page ID#:
                                   19580



                  IN THE UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF KENTUCKY, COVINGTON DIVISION



 WILLIAM VIRGIL,
                                              )
                        Plaintiff,            )
                                              )
       v.                                     )       Case No. 16-CV-224
                                              )
 CITY OF NEWPORT, et al.,                     )       JUDGE DAVID L. BUNNING
                                              )
                        Defendants.           )       MAGISTRATE EDWARD B. ATKINS
                                              )
                                              )
                                              )
                                              )
                                              )       JURY TRIAL DEMANDED
                                              )


          PLAINTIFF’S REPLY TO DEFENDANTS’ RESPONSES TO
     PLAINTIFF’S MOTION FOR CERTIFICATE OF APPEALABILITY

      NOW COMES Plaintiff, William Virgil, by his attorneys, LOEVY & LOEVY,

replying to Defendants’ Responses (Dckt. 347, 348) to Plaintiff’s Motion for

Certification of Appealability (Dckt. 346).

                                      INTRODUCTION

      “A Rule 54(b) certification recognizes the practical finality of a decision as to

certain claims and permits such a decision to be appealed as a final judgment.”

Good v. Ohio Edison Co., 104 F.3d 93, 95 (6th Cir. 1997). “The rule ‘is intended to

strike a balance between the undesirability of more than one appeal in a single

action and the need for making review available in multiple-party or multiple-claim

situations at a time that best serves the needs of the litigants.” Id. For reasons

explained below, Defendants have not undermined Plaintiff’s argument that there


                                                  1
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 2 of 14 - Page ID#:
                                   19581



is no just reason for delay. In fact, Defendants’ arguments highlight why

certification is warranted – “there is no just reason for delay” and to avoid

duplicative trials. For the reasons explained below, Plaintiff’s motion should be

granted.

         I.   The Court’s Summary Judgment Decision is Final for Purposes
              of Rule 54(b)

       Defendants assert that Plaintiff has not satisfied Rule 54(b) because the

collateral order doctrine does not extend to decisions beyond qualified immunity in

§ 1983 litigation. Dckt. 347 at 6 (Newport Defendants’ Response); Dckt. 348 at 3

(Defendant City of Cincinnati Response). Thus, Defendants argue, the district

court’s decision is not a final order for appellate purposes. Id.

       Defendants misapprehend Rule 54(b). “[U]nder Federal Rule of Civil

Procedure 54(b), the district court may certify a partial grant of summary judgment

if the court ‘expressly determines that there is no just reason for delay.’” Carpenter

v. Liberty Ins. Corp., 850 F. App’x 351, 355 (6th Cir. 2021) (quoting Fed. R. Civ. P.

54(b)); see also Bonner v. Perry, 564 F.3d 424, 427 (6th Cir. 2009) (“A grant of

partial summary judgment that does not dispose of all parties and all claims is

generally not immediately appealable unless the district court issues a Fed. R. Civ.

P. 54(b) certificate.”)

       Rule 54(b) “scrupulously recognizes the statutory requirement of a ‘final

decision’ under § 1291 as a basic requirement for an appeal to the Court of Appeals.

It merely administers that requirement in a practical manner in multiple claims

actions and does so by rule instead of judicial decision.” Sears, Roebuck & Co. v.



                                               2
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 3 of 14 - Page ID#:
                                   19582



Mackey, 351 U.S. 427, 428 (1956). “The District Court cannot, in the exercise of its

discretion, treat as ‘final’ that which is not ‘final’ within the meaning of § 1291. But

the district court may, by the exercise of its discretion in the interest of sound

judicial administration, release for appeal final decisions upon one or more, but less

than all, claims in multiple claims actions.” Id. at 437; see also Solomon v. Aetna

Life Ins. Co., 782 F.2d 58, 59 (6th Cir. 1986) (“Fed. R. Civ. P. 54(b) is designed to

facilitate the entry of judgment on one or more claims, or a to one or more parties,

in a multi-claim/multi-party action.”); Inhalation Plastics, Inc. v. Medex Cardio-

Pulmonary, Inc., 638 F. App’x 489, 496 (6th Cir. 2016) (“In sum, the district court

did just what Rule 54(b) commands. It first determined that the March 13, 2013

summary judgment order addressed multiple claims. It then determined that only

some of those claims enjoyed a final judgment. That satisfies the first step for Rule

54(b) certification.”). In short, the Court may properly grant certification under

Rule 54(b) at this stage of the case.

       II.   There is No Just Reason for Delay

             A. Plaintiff’s Claim Against Cincinnati Should be Certified

      Defendant City of Cincinnati asserts that the Court should deny certification

because it “would add multiple parties and numerous issues to the existing appeal”

and that “there is little connection between the issues on appeal and the claim

against Cincinnati Plaintiff seeks to address in an appeal.” Dckt. 348 at 5.

      Defendant City of Cincinnati’s view is too narrow. Regardless of the outcome

of Plaintiff’s claims against Defendants Brandt and Wagner and Defendant City of




                                               3
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 4 of 14 - Page ID#:
                                   19583



Newport, Plaintiff intends to appeal the Court’s decision granting summary

judgment against his municipal liability claim against Defendant City of

Cincinnati. If Plaintiff successfully appeals post-trial, then this Court would have

to try a duplicative trial. That is, the district court would have to held a second

trial involving the same serial killer evidence, the same witnesses, and the same

factual issues as Plaintiff already would have tried against the Individual Newport

Defendants. So, although Plaintiff’s claim against Defendant Cincinnati involves a

slightly different appellate question than Defendants Brandt and Wagner’s appeal,

it ultimately involves the same factual issues.

       Rule 54(b) certification is appropriate where “judicial economy is best served

by immediate appeal . . . .” Marcilis v. Redford Twp., No. 09-11624, 2011 WL

284466, at *4 (E. D. Mich. Jan. 25, 2011) (granting Rule 54(b) certification where

possibility of second trial involving same parties, witnesses, and exhibits might

occur); Planned Parenthood Sw. Ohio Region v. DeWine, No. 1:04-CV-493, 2011 WL

4063999, at *2 (S.D. Ohio Sept. 13, 2011) (“Finally, the ‘miscellaneous factors’ would

be served by an immediate appeal: a final decision on Plaintiff’s void-for-vagueness,

bodily integrity, and undue burden claims would promote economy and shorten the

time of trial by avoiding duplicative trials, and trim expenses for the parties and for

this Court.”); J.H. by Harris v. Williamson Cnty., No. 3-14-2356, 2018 WL 3572392,

at *2 (M.D. Tenn. July 25, 2018) (granting certification under Rule 54(b) because

“[a]ll of Plaintiff’s claims should be tried together, if they are tried.”). In sum, for

reasons of judicial economy, this Court should certify its summary judgment




                                                4
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 5 of 14 - Page ID#:
                                   19584



decision against Plaintiff’s claim against Defendant City of Cincinnati under Rule

54(b).

               B. Plaintiff’s Claims Against the Individual Newport
                  Defendants Should be Certified

         The Individual Newport Defendants argue that this case “is not one of the

‘infrequent harsh cases’ that justifies certification, nor does the case present special

circumstances that would necessitate certification under the Rule.” Dckt. 347 at 4

(citing Crowley v. Anderson Cnty., No. 3:17-cv-169, 2018 WL 8919928 (E.D. Tenn.

Sept. 28 2018)).

         Defendants’ focus is misplaced. “However accurate it may be as a description

of cases qualifying for Rule 54(b) treatment, the phrase ‘infrequent harsh case’ in

isolation is neither workable nor entirely reliable as a benchmark for appellate

review. There is no indication is was ever intended by the drafters to function as

such.” Curtiss-Wright Corp. v. General Elec. Co., 446 U.S. 1, 10 (1980). Instead, the

trial court must decide whether there are “‘justifiable reasons for delay.’” Id.

(quoting Sears, Roebuck, and Co. v. Mackey, 351 U.S. 427, 437 (1956)).

         Indeed, “[t]he party seeking certification under Rule 54(b) need not show

‘harsh or unusual circumstances’ to merit such a ruling; instead, ‘the proper

standard against which a district’s court exercise of discretion in granting a Rule

54(b) certification is to be judged is the interest of sound judicial administration.’”

Roe v. Amazon.com, No. 3:15-cv-111, 2016 WL 4035523, at *1 (S.D. Ohio July 27,

2016) (quoting Curtiss-Wright Corp., 446 U.S. at 9). “The Supreme Court simply

describes the ‘function of the district court under the Rule is to act as a ‘dispatcher.’”



                                               5
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 6 of 14 - Page ID#:
                                   19585



Id. (quoting Curtiss-Wright, 446 U.S. at 8); see also Lowery v. Fed. Express Corp.,

426 F.3d 817, 821 (6th Cir. 2015) (“The second requirement of Rule 54(b)—that the

district court determine that there is no just reason for delay—requires

consideration of ‘judicial administrative interests as well as the equities involved.’”

(quoting Curtiss-Wright, 446 U.S. at 8). “The district court must ‘determine

whether the needs of the parties outweigh the efficiency of having one appeal at the

conclusion of the case it its entirety, and it must spell out its reasons for concluding

that prompt review is preferable.’” Lowery, 426 F.3d at 822 (quoting GenCorp., Inc.

v. Olin Corp., 390 F.3d 433, 442 (6th Cir. 2004)).

      In any event, this case has been pending for five years. Plaintiff is

approaching his 70th birthday still seeking justice after spending more than 28

years in prison for a murder he didn’t commit. The case likely will be delayed for at

least one year just to resolve Defendants’ second qualified immunity appeal. If

these facts do not qualify as an “infrequent, harsh case” justifying certification, it is

difficult to contemplate what set of facts would meet that standard.

                    1. Defendants’ Analysis of the First Corrosioneering
                       Factor is Misguided

      The Newport Defendants contend that the relationship between adjudicated

and unadjudicated claims disfavors certification. Dckt. 347 at 7-8. However, the

Newport Defendants cite cases presenting different circumstances than the

circumstances here. In Justice v. Pendleton Place Apartments, 40 F.3d 139 (6th Cir.

1994), the Sixth Circuit vacated the district court’s Rule 54(b) certification where

the district court had certified its decision dismissing the plaintiff’s state law



                                               6
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 7 of 14 - Page ID#:
                                   19586



negligence per se claim because “the negligence per se claim depends entirely on the

remaining federal claims,” subsequent events in the district court might moot the

appeal, and it was possible the damages issues would never arise, rendering any

appellate opinion an advisory opinion. Id. at 141-42. Here, Plaintiff seeks no

opinion on damages that might become moot, he has no state law claims that

depend on federal claims, and there is no risk of an advisory opinion.

      In Lowery, 426 F.3d at 819, the district court granted summary judgment on

Plaintiff’s Title VII claims but denied summary judgment on his breach of contract

claim. The district court granted certification under Rule 54(b) on the Title VII

claims. Id. at 820. The Sixth Circuit concluded that certification was improper

because the dismissed Title VII claims and the remaining breach of contract claim

involved the same set of operative facts, so the district court’s certification promoted

piecemeal appeals on claims arising from the same facts. Id. at 822. Similarly, in

Carpenter, 850 F. App’x at 355, the adjudicated and unadjudicated claims arose

from the same set of facts, so certification promoted piecemeal appeals and the issue

might be mooted in the future.

      Here, however, certification would reduce piecemeal appeals on claims

arising from the same set of facts because Defendants already are pursuing an

interlocutory appeal. The concerns in Justice, Lowery, and Carpenter about the

relationship between adjudicated and unadjudicated claims do not apply here. Also,

Defendants have aggressively sought to limit admissible evidence on Plaintiff’s

remaining claims, so Defendants assertion that all of Plaintiff’s claims factually




                                               7
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 8 of 14 - Page ID#:
                                   19587



overlap is perplexing, to say the least. See generally Dckt. 312 (Defendants’ Brandt

and Wagner’s Motions in Limine seeking to exclude evidence from trial pertaining

to Plaintiff’s innocence and all other evidence that they allege doesn’t directly prove

Plaintiff’s remaining claims).

      At bottom, this case is most similar to Gavit v. Born, 835 F.3d 623 (6th Cir.

2016), where the Sixth Circuit concluded that the district court had properly

“acknowledged the importance of judicial economy, recognizing that the Estate’s

interlocutory appeal created an opportunity for appellate review of the dismissals of

related claims stemming from the same alleged civil rights violations.” Id. at 639.

“Considering the actions complained of occurred more than 30 years ago, the ‘no just

reason for delay’ consideration is infused with a certain exigency. Any step that

moves the parties closer to a fair and final adjudication is a good step.” Id. That

step should be taken here given the circumstances discussed above.

                    2. The District Court May Properly Consider that
                       Certification Might Promote Settlement

      The second factor favors certification because the need for review will not be

mooted in the district court. Dckt. 346 at 5 (Plaintiff’s Motion). Defendants do not

challenge this proposition. See Dckt. 347 at 8-9 (Defendants’ Response). As an

additional consideration, the Court may consider that “appellate resolution could

facilitate settlement . . . .” Lowery, 426 F.3d at 823. Defendants argue that “the

possibility that certification under Rule 54(b) might spur settlement does not,

standing alone, satisfy the second factor.” Dckt. 347 at 9.




                                              8
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 9 of 14 - Page ID#:
                                   19588



      Plaintiff does not suggest that the possibility of settlement alone warrants

certification under this factor, or suggest that the district court should force

settlement. The primary reason for certification under the factor is that the need

for review will not be mooted by future developments in the district court. As an

additional, supporting consideration, the Court may properly consider “the interest

of judicial administration,” including facilitation of settlement. Lowery, 426 F.3d at

823. Thus, Defendants argument on this point misses the mark.

                    3. Multiple Appeals May Occur, But the Interests of
                       Judicial Administration and the Equities of the
                       Parties Favors Certification

      Defendants contend that if the Court certifies its decision, the Sixth Circuit

may face the same issues in a second appeal. Dckt. 347 at 9-10. First, Defendants

assert that if Plaintiff successfully appeals this Court’s summary judgment decision

on Plaintiff’s Brady claim against Defendant Sears, and then secures a verdict,

Defendant Sears will appeal that verdict, requiring the Sixth Circuit to consider a

similar issue twice. Id. at 9. However, Defendants overlook that if Plaintiff is not

permitted to appeal now, then he will appeal after trial regardless of the verdict and

damages awarded. In that scenario, Plaintiff would pursue an appeal on the

dismissed Defendants and claims, while Defendants Brandt, Wagner, and the City

of Newport would presumably appeal the trial verdict and any evidentiary issues

that they seek to contest. If Plaintiff is successful on appeal and in a second trial,

then Defendant Sears will appeal again after a second trial. So, denying Plaintiff

permission to appeal now will only serve to further delay this case. Conversely, if




                                               9
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 10 of 14 - Page ID#:
                                    19589



Plaintiff is permitted to appeal the dismissed claims and Defendants now, that

would prevent a second, and duplicative trial, later on.

       Second, Defendants assert that Plaintiff’s Brady and fabrication claims

premised on Mr. Womack risk double appeal because Defendants will appeal any

jury verdict if Plaintiff is successful on appeal and at trial. However, again,

Defendants overlook that Plaintiff will appeal post-trial if the Court declines

certification. If successful, Defendants will appeal again after a second trial as well.

Defendants insinuation that they would not appeal a jury verdict in Plaintiff’s favor

is not a reason to deny certification.

       In short, the possibility of multiple appeals exists. Although Defendants

have the right to qualified immunity interlocutory appeal, if they were motivated to

minimize appeals, they could have chosen not to exercise their right to appeal and

proceed to trial. “[T]he interests of judicial administration as well as the equities of

the parties” favors certification, because judicial economy favors trying all of

Plaintiff’s available claims in the first trial, instead of piecemeal appeals at various

stages of the case. Gavitt, 835 F.3d at 639.

                    4. The Absence of Set-Off Claims Favors Certification

       Defendants contend that the absence of set-off from counterclaims is a non-

factor. Defendants cite no authority for this proposition. A lack of set-off favors

certification. See Bose v. de la Salud Bea, 2018 WL 8922839, at *4 (W. D. Tenn.

July 30, 2018) (“[T]he Court considers this absence of set-off as favoring Rule 54(b)

certification.”)




                                               10
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 11 of 14 - Page ID#:
                                    19590



                    5. Gavit—Not LeFever—Guides This Court’s Certification
                       Decision

      Defendants argue that the fifth factor disfavors certification under LeFever v.

Ferguson, 567 F. App’x 426 (6th Cir. 2014). In LeFever, the district court certified

the plaintiff’s Brady claims under Rule 54(b) without awaiting the defendant’s

opposition brief. Id. at 429. The defendant “alerted the court to the premature

certification ruling and filed opposition,” but the district court concluded that a

cross-appeal had divested the court’s jurisdiction, and so it could not amend its Rule

54(b) ruling. Id.

      The Sixth Circuit acknowledged that it ordinarily gave “substantial deference

to the district court’s weighing of unjust-delay factors, recognizing its greater

familiarity with a case’s procedural posture, but the district court’s failure to

consider substantial arguments raised in timely opposition briefing diminishes the

deference owed.” Id. at 432 (internal citations omitted). The Sixth Circuit

dismissed the appeal as improperly certified because “[t]he district court’s

premature ruling on the certification motion precluded meaningful review of the

certification factors.” Id. at 433. Combined with the possibility of a second qualified

immunity appeal from other defendants, the Sixth Circuit concluded that

certification under Rule 54(b) was inappropriate. Id.

      Here, the Court has sought briefing from the parties, providing it deference to

consider the procedural posture of the case, unlike LeFever. Id. at 433. The

primary problem in LeFever was not so much the outcome as it was the lack of

“meaningful review of the certification factors.” Id. at 432. Gavit—a more recent,



                                              11
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 12 of 14 - Page ID#:
                                    19591



published, Sixth Circuit case—should guide the outcome in this case. Gavit, 853

F.3d at 639 (upholding district court’s certification where district court properly

recognized that interlocutory qualified immunity appeal “created an opportunity for

consolidated appellate review of the dismissal of related claims stemming from the

same civil rights violations,” and commenting that the fact that the “actions

complained of occurred over 30 years ago, the ‘no just reason for delay’ consideration

is infused with a certain exigency”); see also Crump v. Lafler, 657 F.3d 393, 405 (6th

Cir. 2011) (noting that unpublished cases are not precedent and bind only the

parties to the case).

                                         Conclusion

      Exercising its discretion, the Court should grant a certificate of appealability

on the issues identified in Plaintiff’s Motion. Dckt. 346. The Court is free to weigh

the Corrosioneering factors as it sees fit, on a case-by-case basis. Planned

Parenthood, 2011 WL 4063999, at *2 (S.D. Ohio Sept. 13, 2011). Considering

judicial economy and the interests of the parties, the Court should grant

certification, as “[a]ny step that potentially moves the parties closer to a fair and

final adjudication is a good step.” Gavit, 835 F.3d at 639. Judicial economy and the

interests of the parties is best served by having a trial that includes the triable

claims and relevant parties.




                                              12
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 13 of 14 - Page ID#:
                                    19592



                                                 RESPECTFULLY SUBMITTED,



                                                 /s/ Margaret Campbell

                                                 One of Plaintiff’s Attorneys

      Arthur Loevy
      Jon Loevy
      Michael Kanovitz
      Elliot Slosar
      Amy Robinson Staples
      Margaret Campbell
      LOEVY & LOEVY
      311 N. Aberdeen, 3rd Floor
      Chicago, IL 60607
      (312) 243-5900
      Fax: (312) 243-5902




                                          13
Case: 2:16-cv-00224-DLB-EBA Doc #: 349 Filed: 08/18/21 Page: 14 of 14 - Page ID#:
                                    19593



                                      CERTIFICATE OF SERVICE

          I, Margaret Campbell, an attorney, hereby certify that on August 18, 2021, I filed the

foregoing motion via the Court’s CM/ECF System and thereby served a copy on all counsel of

record.




                                                      14
